
HARRIS, Presiding Judge.
The judgment of the conviction is reversed and the cause remanded for a new trial on mandate of Beck v. Alabama, 447 U.S. 625, 100 S.Ct. 2382, 65 L.Ed.2d 392 (1980), on remand, 396 So.2d 645 (Ala. 1981); Ritter v. State, 403 So.2d 154 (Ala., 1981), 403 So.2d 158 (Ala.Cr.App., 1981), July 7, 1981, Motion for State of Mandate Denied by Ala. S.C.; and Cade v. State, 405 So.2d 699 (Ala. 1981).
REVERSED AND REMANDED.
All the Judges concur.
[Opinion originally published at 375 So.2d 802 (Ala.Cr.App.); affirmed, 375 So.2d 828 (Ala.), vacated 448 U.S. 903, 100 S.Ct. 3043, 65 L.Ed.2d 1133.]
